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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA      :
                              :    Case No. 21-CR-392-5 (RCL)
     v.                       :
                              :
ERICK SCOTT WARNER (3) &      :
DEREK KINNISON (5),           :
                              :
          Defendants          :
                      SUPPLEMENTAL NOTICE TO
                  THE COURT ON LOCATION OF FUNDS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, presents this supplemental notice as directed by the Court’s June 4, 2025,

Minute Order. The government respectfully requests leave to file this response on June 10, 2025,

instead of June 9, 2025, as ordered under the Minute Order.

       The United States inquired of the Clerk of the Court regarding the location of monies paid

by Mr. Warner and Mr. Kinnison. There were two sets of payments for each. The special penalty

assessments (of $100 each) were paid and then deposited in the Crime Victims’ fund. The

defendants made their restitution payments to the clerk and they were disbursed to the victim

before January 20, 2025, the date when President Trump issued their pardons. The restitution was

disbursed using the Intra-governmental Payment and Collection System to a vendor code

associated with the Architect of the Capitol.

       When Mr. Warner and Mr. Kinnison were incarcerated, the Bureau of Prisons sent small

payments from their inmate accounts toward their financial obligations after they had been paid in

full. That led to overpayments, which have been or will be administratively corrected.

       In sum, the special assessments and restitution were paid to the Clerk and disbursed as

ordered by the Court before the pardons. An issue remains because the defendants’ cases were on
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appeal when the pardons issued. At the time of the pardons, the President directed the Attorney

General to pursue dismissal with prejudice of all pending cases. That included the appeals, setting

up a posture similar to Nelson v. Colorado, 581 U.S. 128 (2017), which the government addressed

in its response to Mr. Kinnison’s motion. ECF No. 541, at 3.

        The government notes that in a similar matter, this Court found that that Knote v. United

States, 95 U.S. 149 (1877), applied instead of Nelson. See Mem. Op. in United States v. Sullivan,

21-CR-00078 (RCL) (May 20, 2025), ECF No. 171. That case pertained to funds which were being

retained by the United States Marshals for purposes of forfeiture, however, and not restitution as

in this case.

        The Appropriations Clause provides that “No money shall be drawn from the Treasury but

in consequence of appropriations made by law.” Article I, Section 9, Cl. 7. Nonetheless, the United

States government does receive funds on occasion to which it is not entitled. To address this fact,

Congress included provisions for refunds in as part of the general appropriation statute for the

Department of Treasury. 18 U.S.C. § 1322. Specifically, Congress appropriates funds under 31

U.S.C. § 1322(b)(2) for the refund of monies erroneously deposited into the miscellaneous receipt

accounts.

               (b) Except as provided in subsection (c) of this section, necessary amounts
        are appropriated to the Secretary of the Treasury to make payments from —

                                          * * *

                (2) the United States Government account “Refund of Moneys Erroneously
                Received and Covered” and other collections erroneously deposited that are
                not properly chargeable to another appropriation.

31 U.S.C. § 1322(b)(2). The Department of Treasury has established account 20X1807 to address

the refund of monies erroneously received and covered. As noted in the Treasury Financial Manuel

(“TFM”) at Chapter 6, Section 3045:

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                When agencies can trace the amount subject to refund as erroneously
                credited to an appropriation account, the agency should charge the
                refund claim to that appropriation account whether lapsed, current,
                reimbursable, or nonreimbursable. Agencies may charge account
                20X1807 only when depositing collections into the Treasury as
                miscellaneous receipts and the refund is not properly chargeable to any
                other appropriation.

Treasury Financial Manual, 6-3045 (available at TFM, last visited on May 27, 2025). See also

Reynolds v. Alabama DOT, No. 85-cv-665-MHT, 2007 U.S. Dist. LEXIS 100441, at *16-19 (M.D.

Ala. Nov. 30, 2007). Thus, if the Court enters an order directing that the fees and restitution be paid

to the defendants, the Clerk of Court would be authorized under 31 U.S.C. § 3122(b) and 1 TFM

6-3045 to disburse those funds from the designated account. Thus, there is statutory authority to

support the refund of previously paid funds to correct an erroneous deposit of money into the

Treasury.

        In this case, even though the Mr. Warner and Mr. Kennison received pardons, their

convictions were vacated on appeal. There were no final convictions and, under Nelson, they are

entitled to a return of the funds erroneously deposited into the Treasury.

                                                Respectfully submitted,

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